Case 1:21-cr-00537-JMC Document 134 Filed 03/25/22 Page 1 of 2

Government
Plaintiff
Defendant
Joint

Court

USUI

WNITCD_STAI@S OF AMERICA
VS.
Z- PAUL PUSS-2LL JOHNSON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATES OF AnteZi CA
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Plaintiff = CivilfCriminalNo. __ 2|-537-3
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